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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case No.: 16-CR-20549-SCOLA/OTAZO-REYES


   UNITED STATES OF AMERICA
          Plaintiff,
   v.
   PHILIP ESFORMES, et al.,
          Defendants.
                                    /

                             JOINT MOTION TO CONTINUE THE
                          DECEMBER 18, 2023 STATUS CONFERENCE

          1.      On November 21, 2019, the Court issued an order setting Counts 1, 14, 15, 22, 23,

   and 33 of the Third Superseding Indictment for retrial during the two-week period commencing

   on January 21, 2020. (ECF No. 1458).

          2.      Without waiving his prior objections to a retrial on the hung counts, Mr. Esformes

   moved to continue the January 21, 2020 retrial date until after the appeal of his convictions. (ECF

   No. 1468). The Court granted the motion, held that Mr. Esformes’ trial date would be continued

   until after the appeal of his convictions is decided, and scheduled a status conference for July 17,

   2020 to determine a retrial date. (ECF No. 1470).

          3.      The Court has since granted subsequent motions jointly submitted by the parties

   continuing the status conferences related to the retrial date (ECF Nos. 1513, 1529, 1561, 1633,

   1665, 1685, 1704, 1713, 1716, 1718). When granting such continuances, the Court has excluded

   time pursuant to the Speedy Trial Act through the next status conference and until after the appeal

   of Mr. Esformes’ convictions based upon a finding that interests of justice served by a continuance
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   outweigh any interest of the public or the Defendant in a speedy trial. A telephonic status

   conference is presently scheduled for December 18, 2023.

          4.      On January 6, 2023, the Court of Appeals for the Eleventh Circuit issued a decision

   on Mr. Esformes’ appeal affirming the district court. Mr. Esformes sought a rehearing en banc,

   but that motion was unsuccessful, and the mandate was issued to the Court on April 3, 2023. On

   July 31, 2023, Mr. Esformes filed a writ of certiorari. The writ of certiorari has been denied.

          5.      The parties have initiated dialogue concerning issues inherent in this matter, and

   wish to have the opportunity to continue such dialogue. In light of the upcoming holidays, and

   complexity of certain issues under discussion, the parties respectfully request that the Court

   continue the status conference in this matter to January 29, 2024. Without waiving Mr. Esformes’

   prior objections to a retrial on the hung counts (see, e.g., ECF No. 1468), the parties agree that the

   interests of justice served by an additional adjournment continue to outweigh any interest of the

   public or Mr. Esformes in a speedy trial and ask that the Court continue to exclude time under the

   Speedy Trial Act through the next-scheduled status conference.
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                                        Respectfully submitted,


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   -and-                                              By: /s/ James v. Hayes
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  Counsel for Defendant Philip Esformes
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on December 14, 2023, I electronically filed the foregoing

   document with the Clerk of Court using the CM/ECF system. I also certify that a true and correct

   copy of the foregoing document will be served on all counsel of record via transmission of Notice

   of Electronic Filing generated by the CM/ECF system.

                                                      /s/ Mark E. Bini
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